                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

          vs.                                             Case No. 16-cr-21-WED

SAMY M. HAMZEH,

                    Defendant.


                                  MOTION TO SEAL

      Samy Hamzeh, by counsel, pursuant to General Local Rule 79(d), hereby requests

that the Court file and maintain under seal the document filed on today’s date and its

attachments. The grounds for the request to seal are detailed in the submission.

      Dated at Milwaukee, Wisconsin this 5th day of September, 2019.

                                         Respectfully submitted,

                                         /s/     Joseph A. Bugni
                                         Joseph A. Bugni, WI Bar #1062514
                                         Craig W. Albee, WI Bar #1015752
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                                                                            of Wisconsin, Inc.
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